Case 24-31355          Doc 13     Filed 06/16/24 Entered 06/16/24 23:28:19                   Desc Imaged
                                 Certificate of Notice Page 1 of 3


                         UNITED STATES BANKRUPTCY COURT
                              DISTRICT OF MINNESOTA

    IN RE:
                                                                   Bankruptcy No. 24-31355
    Strategic Pork Solutions LLC,

                             Debtor.


                ORDER AUTHORIZING EMPLOYMENT OF ATTORNEY

           Upon application of the Debtor in possession herein to employ David C.

   McLaughlin;

           The Court finding said attorney is qualified to act in such capacity, and that upon

   the representation of the attorney, there is no interest adverse to the Debtor in possession

   or to the estate;

           IT IS ORDERED

           1.      That the Debtor in possession is authorized to employ David C. McLaughlin

   and his firm as its attorney in these proceedings.

           2.      That the attorney shall be employed under a general retainer with the

   compensation to the attorney to be fixed by the Court pursuant to Statute.


                 June 14, 2024
   Dated _______________________


                                                        /e/ Katherine A. Constantine
                                                        United States Bankruptcy Judge
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                                                               United States Bankruptcy Court
                                                                    District of Minnesota
In re:                                                                                                                  Case No. 24-31355-KAC
Strategic Pork Solutions, LLC                                                                                           Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0864-3                                                   User: admin                                                                 Page 1 of 2
Date Rcvd: Jun 14, 2024                                                Form ID: pdf111                                                            Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                 Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                  regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Jun 16, 2024:
Recip ID                 Recipient Name and Address
db                     + Strategic Pork Solutions, LLC, 126 South Broadway, Wells, MN 56097-1628

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Jun 16, 2024                                            Signature:            /s/Gustava Winters




                                   CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on June 14, 2024 at the address(es) listed below:
Name                               Email Address
Adine S. Momoh
                                   on behalf of Interested Party United States Small Business Administration adine.momoh@usdoj.gov
                                   usamn.ecfbankruptcy@usdoj.gov;Caseview.ECF@usdoj.gov;barbara.wilson@usdoj.gov;darcie.boschee@usdoj.gov

David C. McLaughlin
                                   on behalf of Debtor 1 Strategic Pork Solutions LLC dmclaughlin@fluegellaw.com, lberkner@fluegellaw.com

James A. Lodoen
                                   on behalf of Interested Party SECURITY BANK MINNESOTA jlodoen@spencerfane.com ldeming@spencerfane.com

Mary Sieling
                                   mary@mantylaw.com erica@mantylaw.com;MN27@ecfcbis.com

Michael R Fadlovich
                                   on behalf of U.S. Trustee US Trustee michael.fadlovich@usdoj.gov

Phillip J. Ashfield
                                   on behalf of Interested Party SECURITY BANK MINNESOTA pashfield@spencerfane.com rlevans@spencerfane.com
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District/off: 0864-3                                      User: admin                         Page 2 of 2
Date Rcvd: Jun 14, 2024                                   Form ID: pdf111                    Total Noticed: 1
US Trustee
                          ustpregion12.mn.ecf@usdoj.gov


TOTAL: 7
